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       DECLARATION OF STEPHEN W. MANNING, EXECUTIVE DIRECTOR,
                        INNOVATION LAW LAB

       I, Stephen W. Manning, declare as follows:

       1.       I am an attorney licensed to practice in the State of Oregon and am a member in

good standing of the bars of the United States District Court for the District of Oregon, the

United States Court of Appeals for the Ninth Circuit, and the Supreme Court of the United

States. I am a member of the American Immigration Lawyers Association (“AILA”), a former

member of the Board of Governors of AILA, and a former Chair of the Oregon Chapter of

AILA. I am over 18 and have personal knowledge of the facts described herein.

       2.       I am the Executive Director of the Innovation Law Lab (“the Law Lab”), a

nonprofit in Oregon that I founded to improve the legal rights of immigrants and refugees in the

United States. In my role at the Law Lab, I led the organizing of the Artesia Pro Bono Project in

2014 and the Dilley Pro Bono Project in 2015, which are detention-based projects that provided

universal representation to detained families in rapid removal proceedings. I designed the model

for the Southeast Immigrant Freedom Initiative, an initiative of the Southern Poverty Law Center

in collaboration with the Law Lab, to provide representation to adult noncitizens detained at

immigration facilities in the Southeastern United States in 2017. I designed and direct the pro

bono representation project called the Centers of Excellence, which provide support to

noncitizens and their pro bono attorneys including legal, technical, and strategic assistance in the

preparation and presentation of claims. Through the Centers of Excellence, I direct

representation projects in Georgia, Kansas, Missouri, North Carolina, and Oregon, with

expansion underway to Texas, New Mexico, and California. In Oregon, under my direction,

approximately 125 pro bono lawyers have been trained on asylum and removal defense. These

are lawyers from large, medium, and small firms, solo practices, and in-house counsel. I
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designed and directed a program called BorderX that uses technology and collaboration tools to

provide support to legal service providers at immigrant detention centers. I designed BorderX so

that remote attorneys and advocates—that is, attorneys and advocates who are unable to

physically enter a detention center because of its remoteness—can participate by telephone and

through cloud-software to scale representation efficiently.

       3.       The Artesia Pro Bono Project provided representation to more than 700 women

and children who were detained at the Artesia Family Residential Center in Artesia, New

Mexico, including representation during the credible and reasonable fear screenings, applications

for release, and merits adjudication on immigration relief. The Artesia Pro Bono Project lasted

six months and ended when the detention center in Artesia was closed in December 2014.

       4.       The Dilley Pro Bono Project, which continues to operate at the South Texas

Family Residential Center, has been representing noncitizen asylum seekers during proceedings

since its inception in 2015. A related project operates at the Karnes Family Residential Center;

together, both projects have represented over 100,000 individuals since their launch.

       5.       As part of designing and scaling representation projects at detention centers, I

have relied on data acquired during the different representation phases of immigration

proceedings to make estimates about when and how long attorneys and other legal workers must

spend interviewing, conferring, and consulting with clients. My estimates form the basis of the

representational models, which have proven to be very successful when measured by client

outcomes, with most individuals prevailing in seeking relief.

       6.       In 2015, I was awarded the AILA Founder Award as a person who had the most

substantial impact on the field of immigration law or policy in relation to the Artesia Pro Bono

Project and the Dilley Pro Bono Project. In 2017, I was named the most innovative lawyer in




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North America by Financial Times for my work in creating these immigrant and refugee

representation detention-based projects.

       7.       Innovation Law Lab’s work is centered on providing representation to asylum

seekers. Recently, we mobilized around the civil detention of 123 asylum-seeking immigrant

men at the Federal Correctional Institution Sheridan, Oregon (“FCI Sheridan”). The Law Lab

provided pro bono legal representation to every man in the Sheridan cohort who requested our

representation. In collaboration with almost 200 legal advocates and community members, the

Law Lab represented 80 men from 11 different countries. Every individual represented by the

Law Lab was found to have a credible fear of persecution or torture; leading to, for most, the

conclusion of expedited removal proceedings, the initiation of immigration judge § 240

proceedings, and eligibility for release from detention. All but three of our 80 clients were

released from FCI Sheridan on bond or parole. Merits representation of two clients who remain

detained is ongoing, and we also represent men whose cases remain before the Portland

Immigration Court.

       8.       Because of the Law Lab’s organizational focus on asylum seekers, the new

asylum rule and Presidential proclamation will require us to divert our limited resources

significantly. Though most of our programmatic work serves immigrants without eligibility

restrictions based on case type, the vast majority of the people we serve in Georgia, Kansas,

Missouri, North Carolina, Oregon, Texas, New Mexico, and California are asylum seekers. In

Georgia and Oregon, we conduct pro se asylum workshops to assist asylum seekers in removal

proceedings with application preparation and filing. The new rule and proclamation purport to

make a meaningful percentage of the asylum seekers we serve entirely ineligible for asylum

because of their manner of entry into the country.      Implementation of the new rule and




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proclamation would require us to entirely rework the advice and guidance we provide in our pro

se workshops and respond to a flood of inquiries and community uncertainty from the immigrant

communities we serve regarding the attempt to change asylum law.

          9.       Through the Centers of Excellence, the Law Lab also places and mentors pro

bono cases across the country. The Executive Order and new rule make a significant percentage

of our pro bono cases a great deal more complicated and will require us to reevaluate relief

eligibility in all of the cases that we screen and mentor. This will require, for each pro bono

case, significant legal research and multiple strategy meetings with pro bono counsel.

Additionally, if clients represented are only eligible for withholding of removal or Convention

Against Torture relief, which have a higher standard of proof than asylum and are more time-

consuming cases to handle, the Centers of Excellence may begin to lose more cases. We would

then be forced to shift a significant portion of our resources towards mentoring pro bono

attorneys on complicated appeals before the Board of Immigration Appeals and the circuit

courts.

          10.      Our Border X program will also suffer immediate and dramatic impacts from the

new rule and proclamation. Border X builds better systems for advocates working in immigrant

detention centers, and, as a part of its mission, coordinates effective release strategies for

noncitizens in detention. Since the program’s launch in October 2017, 100% of the noncitizens

served have been asylum seekers. Border X’s release strategy is, in many ways, dependent on a

noncitizen’s asylum eligibility, as release becomes possible only after passing a credible fear

interview, which moves the asylum seeker out of expedited removal proceedings and into

immigration judge § 240 or withholding proceedings. The government’s attempt to decimate

asylum eligibility will immediately create a population of detained noncitizens who are not only




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ineligible for release but also in danger of immediate removal. Pivoting to determine advocacy

strategies for this group will take a significant amount of resources, and will divert our attention

from the noncitizen population that remains eligible for asylum under the Executive Order and

new rule and who will still remain in desperate need of Border X’s support.

       11.     Thousands of individuals rely on Law Lab’s systems.             The new rule and

proclamation will require Law Lab to deploy expensive and limited engineering resources to

recode its software to create new analytical modeling. Law Lab publishes materials for pro bono

attorneys and asylum applicants, including printed guides, worksheets, training videos, self-help

videos, and other resources that are used around the country. The new rule and proclamation

will require Law Lab to substantially revise this material and create new learning engagements

and materials. This endeavor would represent such a substantial burden that it could cause Law

Lab to cease most of its pro bono activities.

       12.     Finally, Law Lab’s work creating accountability within the immigration system

will be significantly hindered due to the impact of the new rule and proclamation. We are

currently engaged in research and policy advocacy around improving due process and access to

justice in the asylum process and removal proceedings. Given the centrality of the asylum

process to our organizational work and mission, the new rule and proclamation will force us to

turn our attention from the many pressing issues we are currently investigating towards

mitigating the effects of these new policies on our existing programs and clients.

       13.     In sum, every single one of the Law Lab’s existing programs will be significantly

affected, irrevocably damaged, and immediately diverted by the new rule and proclamation.

       14.     If the government had provided an opportunity for notice and comment before

promulgating the new asylum rule, Law Lab would have submitted comments explaining why




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